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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      (at London)

 UNITED STATES OF AMERICA,                         )
                                                   )
           Plaintiff,                              )    Criminal Action No. 6:21-CR-042-CHB-
                                                   )                    HAI-1
 v.
                                                   )
 MARKELL CALLOWAY,                                 )
                                                   )        ORDER ADOPTING
                                                   )   RECOMMENDED DISPOSITION ON
           Defendant.                              )         COMPETENCY
                                                   )

                                      *** *** *** ***
       This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram [R. 45]. The Recommended Disposition addresses whether

Defendant Markell Calloway is competent to proceed to trial pursuant to 18 U.S.C. §§ 4241 and

4247(d).

       After reviewing the Forensic Report prepared by Dr. Kristen Schramm, Ph.D., [R. 39],

and conducting a hearing, [R. 44], Judge Ingram agreed with Dr. Schramm that Defendant is

competent to proceed [R. 45 at 5]. Judge Ingram recommended that the Court find that

Defendant is competent to face further proceedings, including trial, in this matter [Id. at 6].

       Generally, this Court must make a de novo determination of those portions of the Report

and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1). When no

objections are made, this Court is not required to “review . . . a magistrate’s factual or legal

conclusions, under a de novo or any other standard . . . .” See Thomas v. Arn, 474 U.S. 140, 151

(1985). Parties who fail to object to a magistrate judge’s recommended disposition are also

barred from appealing a district court’s order adopting that recommended disposition. United

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States v. White, 874 F.3d 490, 495 (6th Cir. 2017); United States v. Walters, 638 F.2d 947, 949-

50 (6th Cir. 1981).

       The Recommended Disposition advised the parties that any objections must

be filed within three days [R. 45 at 6]. The time to file objections has passed, and neither party

has filed any objections to the Recommended Disposition nor sought an extension of time to do

so. See Fed. R. Crim P. 59(b). Nevertheless, this Court has examined the record, and agrees with

the Judge Ingram’s Recommended Disposition.

       Accordingly, and the Court being otherwise sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.       The Magistrate Judge’s Recommended Disposition [R. 45] is ADOPTED as the

opinion of this Court.

       2.       The Court FINDS that Markell Calloway is competent to face further

proceedings in this matter.

       3.       The time between July 23, 2021 (the date of the filing of the Motion for

Psychiatric Exam as to Markell Calloway) and the date of this Order (finding the defendant

mentally competent) is DECLARED excludable pursuant to 18 U.S.C. § 3161(h)(1)(A);

(h)(1)(D); (h)(1)(H). The Court FINDS that the period of delay results from a proceeding or

examination to determine the mental competency of a defendant and is therefore excludable

pursuant to 18 U.S.C. § 3161(h)(1)(A); (h)(1)(D); (h)(1)(H).




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      This the 27th day of October, 2021.




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